Case 8:22-cv-00343-MSS-SPF Document 19-12 Filed 03/07/22 Page 1 of 5 PageID 248




                                                    EXHIBIT 12, Page 1 of 5
Case 8:22-cv-00343-MSS-SPF Document 19-12 Filed 03/07/22 Page 2 of 5 PageID 249




                                                    EXHIBIT 12, Page 2 of 5
Case 8:22-cv-00343-MSS-SPF Document 19-12 Filed 03/07/22 Page 3 of 5 PageID 250




                                                    EXHIBIT 12, Page 3 of 5
Case 8:22-cv-00343-MSS-SPF Document 19-12 Filed 03/07/22 Page 4 of 5 PageID 251




                                                    EXHIBIT 12, Page 4 of 5
Case 8:22-cv-00343-MSS-SPF Document 19-12 Filed 03/07/22 Page 5 of 5 PageID 252




                                                    EXHIBIT 12, Page 5 of 5
